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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF WEST VIRGINIA
                                  AT BLUEFIELD

JASON B. TARTT,
DONNIE HAIRSTON,
VENTRISS HAIRSTON,

                                     Plaintiffs,
vs.                                                         Civil Action No. 1:22-cv-00327



DALTON T. MARTIN, individually
JORDAN A. HORN, individually,
JAMES “BOOMER” MUNCY, individually,
MCDOWELL COUNTY COMMISSION, a
West Virginia Political Subdivision,


                                     Defendants.

                              FIRST AMENDED COMPLAINT

       This complaint, brought pursuant to 42 U.S.C. Section 1983, 1985, the Fourth,

Fourteenth and First Amendments to the United States Constitution, arises out of the defendant’s

commission of federal constitutional violations committed against the plaintiffs in McDowell

County, West Virginia, on or about August 7, 2020, within the Bluefield Division of the Southern

District of West Virginia.

                                       INTRODUCTION

       1.      On August 7, 2020, the three plaintiffs, all African Americans, were the victims of

unlawful and outrageous racial profiling, harassment and retaliation by the two defendant police

officers, employed by the McDowell County Sheriff’s Office.




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       2.      Based on nothing other than the plaintiffs’ skin color, Donnie and Ventriss

Hairston were accused of growing four marijuana plants located in overgrown brush at a nearby

property owned by a third party. They called their landlord, who walked over from his adjacent

residence. When the plaintiffs expressed criticism of their treatment by the officers, occurring on

their own front porch, and asked for the names of the two officers for their own protection, the

two defendant officers engaged in an egregious abuse of authority by retaliating against them,

harassing them, physically forcing the Hairstons inside the front door of their home, preventing

them from witnessing and recording the misconduct being perpetrated by the defendant officers.

       3.      After Plaintiff Jason Tartt, a former Military Policeman, questioned the authority

of the officers to engage in the unlawful racial profiling and mistreatment of himself and his

tenants, the defendant officers engaged in unlawful retaliation against Mr. Tartt, including a false

arrest and incarceration. The charge was later dismissed.

                                        JURISDICTION

       4.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. 1331 and 1343.

                                            PARTIES

       5.      Plaintiff Jason Tartt was at all times relevant hereto a resident of McDowell

County, West Virginia.

       6.      Plaintiffs Donnie and Ventriss Hairston are husband and wife and were at all times

relevant hereto residents of McDowell County, West Virginia.

       7.      Defendant police officer Dalton T. Martin, was at all times relevant hereto a

sworn police officer employed by the McDowell County Sheriff’s Office, and was at all times




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relevant hereto acting under color of law. He is named herein in his individual capacity, having

an address of 350 Virginia Ave Suite 101, Welch, West Virginia 24801.

       8.      Defendant police officer Jordan A. Horn, was at all times relevant hereto a sworn

police officer employed by the McDowell County Sheriff’s Office, and was at all times relevant

hereto acting under color of law. He is named herein in his individual capacity, having an address

of 350 Virginia Ave Suite 101, Welch, West Virginia 24801.

       9.      Defendant police officer James “Boomer” Muncy, was at all times relevant hereto

serving in a supervisory capacity in the McDowell County Sheriff’s Office, previously being

Chief Deputy, and thereafter serving as Sheriff, and was at all times relevant hereto acting under

color of law. He is named herein in his individual capacity, having an address of 350 Virginia

Ave Suite 101, Welch, West Virginia 24801.

       10.     Defendant McDowell County Commission (“MCC”) is a political subdivision of

the State of West Virginia. See West Virginia Governmental Tort Claims and Insurance Reform

Act, W. Va. Code § 29-12A-1, et seq.

                                             FACTS

       11.     On, or about, August 7, 2020, the defendant police officers, Dalton T. Martin and

Jordan A. Horn, both sworn deputies employed by the McDowell County Sheriff’s Office,

arrived to the residence owned by Jason Tartt, which was leased to Donnie and Ventriss Hairston.

They claimed that they received a complaint “for a marijuana grow in the area” of Baptist Drive.

       12.     Deputy Martin wrote in his police report narrative that, “Upon our arrival we

incountered [sic] by two elderly subjects who was [sic] on the porch and asked them if they

growed [sic] marijuana and they stated “No”.


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       13.     For some reason, however, instead of moving on, the defendant police officers

began to intimidate and upset the Hairstons. The Hairstons were shocked at their treatment by the

defendant police officers. They were on the porch of their home when they saw police officers

approach up the small road leading towards the house. They initially waved at Defendant Dalton

as he approached. However, as he neared, Dalton appeared to be agitated and angry. Without

providing any context, or asking any other questions, Dalton immediately asked the Hairstons if

they were growing marijuana. They responded in shock, disbelief and confusion that, no, of

course they weren’t growing marijuana.

       14.     The Hairstons had just moved into the home in June of 2020. Mr. Hairston was 66

years of age and Mrs. Hairston was 63 years of age on the date of the incident. They moved to

McDowell County from Lynchburg, Virginia after retiring. Both grew up just a few miles down

the road from the incident location. They have no criminal record. There has never been any

indication or evidence that the Hairstons have ever grown marijuana.

       15.     Jason Tartt, the Hairstons’ landlord, is a military veteran who served in the

Military Police. He later served as Vice President for a Department of Defense contractor, and

like the Hairstons, also ended up returning to his hometown community. Mr. Tartt is a local

entrepreneur who has been focused on giving back to his community, helping to create an

economic entrepreneurship program in a region which suffers from extreme poverty and lack of

essential services and products. He works with youth in the community to help educate them and

train them in economic opportunity and entrepreneurship. He had no criminal history whatsoever

prior to encountering the defendant police officers on August 7, 2020.




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       16.     On August 7, Mr. Tartt received a phone call from his tenants, the Hairstons,

informing him that the defendant police officers had arrived on the properties owned by him, and

were walking around, looking through windows and had accused the Hairstons of growing

marijuana. The Hairstons felt afraid of the officers, who were not being friendly and who

wouldn’t leave them alone, even though they were on their own front porch.

       17.     Tartt walked from his residence to the Hairston residence. As he had not planned

to go anywhere, he was wearing sliders and casual clothing. He did not have identification on

him at the time.

       18.     After Mr. Tartt’s arrival, he walked onto the front porch of the home with the

Hairstons and began to listen to the conversation between Dalton and Mrs. Hairston. Dalton

asked for his name, and Mr. Tartt replied, “Jason Tartt.”

       19.     It became apparent to the plaintiffs that Defendant Dalton had no legitimate

reason to be angry with them, or to suspect that they had anything to do with marijuana plants

growing in overgrown brush on a different property in the woods, well beyond the curtilage of

their home, as well as the property boundaries. They began to suspect that they were the victims

of unlawful racial profiling and multiple civil rights violations. Being in a rural area with a

history of police misconduct and official corruption, they began to suspect that they may be in

danger. To whatever extent the Hairstons implicitly licensed the initial presence of the officers on

the property by waving at them, that license was thereafter revoked through express and implicit

communications, as a result of the officers’ behavior.

       20.     As captured on body cam footage, Mrs. Hairston expressed her concern to

Defendant Dalton that she was scared of him, expressing criticism of Defendant Dalton’s actions


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and his demeanor. Mrs. Hairston stated that, “in the season we’re living in,”1 that she would feel

safe if she could know the officers’ names. At one point Defendant Dalton mockingly said, “I’ll

see if I can find my name,” all the while refusing to give his name.

        21.     Jason Tartt, still standing on the front porch with the Hairstons, and speaking to

the officers, who were standing in the driveway, asked Defendant Dalton, if they were concerned

about the house next door to the Hairstons, which stood in between the woods where the

marijuana was found, and the Hairston home. Dalton replied, “yes.” Tartt and Mrs. Hairston then

explained that an elderly gentleman lives there, and that he may be home if he wants to go talk

with him.

        22.     Defendant Dalton became even more angry. He asked Tartt for his name, which

Mr. Tartt calmly and politely provided. Dalton then turned his anger on Mr. Tartt, asking, “What

do you mean by the ‘season we’re living in?’” He also became highly agitated at Mrs. Hairston

telling him that she was scared of him. Ironically, he aggressively argued with Mrs. Hairston

about whether she should be scared as a result of his actions.

        23.     Mr. Tartt asked Defendant Dalton, again calmly and politely, “What do you

need… Do you have any questions for me?” As the property owner, Mr. Tartt explicitly and

implicitly communicated to the officers that they were not welcome on the property, as they were

scaring his tenants.




1Mrs. Hairston was clearly referring to the national proliferation of incidents of police misconduct -
especially those involving white police officers and African American victims, such as the George Floyd
and Breonna Taylor incidents, among many others.

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       24.     Defendant Dalton, who was already aware of Jason Tartt’s name, said “Nah, I’ll

collect some information from you - your name, date of birth and such.” Defendant Dalton now

had decided to retaliate against the Plaintiffs for expressing criticism and fear of the officers.

       25.     Being a former Military Police officer, Mr. Tartt knew that he was being

victimized and retaliated against by Defendant Dalton.

       26.     While standing on the front porch of the Hairston home, owned by him, Mr. Tartt

calmly and politely asked, “What do you need my information for?” Dalton responded, “You

own these two homes, correct?” During this conversation, the officers were standing well inside

the curtilage of the Hairston residence, standing several steps away from the home’s front porch,

on which the plaintiffs were all located. Whatever implied license the officers may have had to

be present on the said private property had clearly been revoked by this point. However, the

officers remained and continued their investigation on the subject private property. They

possessed no probable cause and warrant, nor exigent circumstances to remain on the property.

       27.     Mr. Tartt replied, “What do these two homes got to do with . . .” which was

interrupted by Dalton saying, “These two homes is near that marijuana grow, so I’d just like to

have your name.” Of course, Dalton already had Tartt’s name, but now intended to harass and

retaliate against Mr. Tartt. In reality, the Hairston home was nowhere near the marijuana plants

found by Dalton. Indeed, there was another house, as well as a derelict church, in between the

two locations. The marijuana was not found on property owned by Mr. Tartt, of which the

defendant officers were aware.

       28.     Mr. Tartt, who had already provided his name, expressed that he didn’t feel

comfortable giving his date of birth to Dalton. Tartt was still standing on the front porch of the


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Hairston home at this time, with Dalton and Horn standing in the driveway, on Mr. Tartt’s

property.

       29.     Defendant Dalton had no reason to need Mr. Tartt’s date of birth, other than to

engage in unlawful harassment and retaliation of Mr. Tartt and the Hairstons. Nor did he have

probable cause and a warrant. Dalton knew that the four marijuana plants he found were not

located on any property owned by Mr. Tartt. Moreover, he didn’t even know who Mr. Tartt was

until he walked over to the Hairston home and introduced himself. Only after the plaintiffs

criticized Defendant Dalton did Dalton claim to need Mr. Tartt’s date of birth. At no point did

Dalton ever inquire as to the Hairstons’ dates of birth - nor the 79 year old tenant of Mr. Tartt’s

who lived even closer to where the four marijuana plants were found.

       30.     To the shock of the plaintiffs - especially the Hairstons - Defendant Dalton then

walked, uninvited, onto the home’s attached front porch and physically seized Mr. Tartt, forcibly

removing him off the front porch and taking him onto the driveway, both using physical force

and through verbal intimidation and threats of violence.

       31.     As Donnie and Ventriss Hairston attempted to video and witness what was

happening, Defendant Dalton physically forced them to stop and to go inside their home. While

standing on the Hairstons’ front porch, Defendant Dalton physically placed his hands on Mr.

Hairston and pushed him inside his own front door, closing the door behind him. Martin’s body

cam footage clearly shows Martin’s arm entering the Hairston home as he pushed Mr. Hairston

inside the house. At the time, Dalton was standing on the home’s attached front porch, uninvited

and clearly without the consent of any of the plaintiffs.




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        32.    Dalton and Horn then placed Mr. Tartt in handcuffs and placed him in the cruiser.

He was driven to Welch for processing and subsequent incarceration. On the way there,

Defendant Martin communicated to his superiors several times the details of what he had just

done.

        33.    Dalton charged Jason Tartt with obstruction under WV Code § 61-5-17(a).

        34.    On October 28, 2020, a Criminal Judgment Order was issued by the Magistrate

Court of McDowell County, dismissing the obstruction charge. As the reason for the dismissal,

the order indicates, “Dismissed by [Prosecuting Attorney], Officer failed to appear to prosecute.”

              COUNT ONE - UNREASONABLE SEIZURE UNDER 42 U.S.C. 1983
                     VIOLATION OF THE FOURTH AMENDMENT
                       (False Warrantless Arrest of Jason Tartt)

        35.    The previous paragraphs are hereby incorporated by reference as though fully

restated herein.

        36.    On August 7, 2020, the Individual Officers, acting under color of law, jointly

participated in, and effected, the warrantless arrest of Plaintiff Jason Tartt for the alleged crime of

obstruction under WV Code § 61-5-17(a).

        37.    The Defendant Individual Officers seized the Plaintiff (Jason Tartt) and arrested

him without a warrant and knowingly did so without probable cause to believe that Plaintiff had

committed the crime for which he was charged, or any other criminal offense.

        38.    Even had the Defendant Individual Officers possessed probable cause to believe

Plaintiff had committed a crime that could subject him to a warrantless arrest in a public place,

Jason Tartt was not in a public place, but rather was lawfully located on the front porch of a

private residence, within the curtilage and protected area of that residence. Specifically, Mr. Tartt


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was located on the front porch of the private residence occupied by Plaintiffs Donnie and

Ventriss Hairston, owned by Mr. Tartt. He was at the residence at the request and permission of

the Hairstons.

        39.      In order to lawfully effectuate a warrantless arrest in a home, rather than a public

place, absent consent or exigent circumstances, police officers must have a warrant. Payton v.

New York, 445 U.S. 573 (1980) (voiding state law authorizing police to enter private residence

without a warrant to make an arrest).

        40.      Supreme Court jurisprudence extends heightened Fourth Amendment protections

beyond just the interior of the home itself, but also to the “curtilage,” which is the “land

immediately surrounding and associated with the home,” because the curtilage is “considered

part of the home itself for Fourth Amendment purposes.” Oliver v. United States, 466 U.S. 170,

180 (1984). The Fourth Circuit has made clear that a warrantless search of curtilage is presumed

to be unreasonable. Covey v. Assessor of Ohio Cnty., 777 F.3d 186 (4th Cir. 2015).

        41.      Applying the trespass-based analytical framework, the Supreme Court has

determined that a search “undoubtedly occur[s]” when the government, without a warrant,

obtains information “by physically intruding” within the curtilage of a house. Florida v. Jardines,

569 U.S. 1, 6 (2013). Thus, a search occurs occurs unless a homeowner has explicitly or

implicitly sanctioned the government’s physical intrusion into the constitutionally protected area.

Id.

        42.      The Fourth Circuit made clear as early as 2001 that police officers will not be

entitled to qualified immunity for failing to comprehend that police officers have no right to enter

upon curtilage to make an investigation based on reasonable suspicion, but rather are limited to


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engaging in a “knock and talk.” Rogers v. Pendleton, 249 F.3d 279, 289 (4th Cir. 2001).

Additionally, the Court made clear that “searches of the curtilage require probable cause even

without regard to the law of trespass.” Id; citing United States v. Jackson, 585 F.2d 653, 660 (4th

Cir. 1978) ("Of course, a search of one's home or its curtilage, effected as a result of a trespass, is

an encroachment on a person's expectancy of privacy and is for that reason, but not because of

the trespass, a violation of the Fourth Amendment if not based on probable cause or authorized

by a search warrant.”).

       43.      Under the “knock and talk” exception to the warrant requirement, a police officer

not armed with a warrant may approach a home and knock, precisely because that is “no more

than any private citizen might do.” Covey v. Assessor of Ohio Cnty., 777 F.3d 186 (4th Cir.

2015) (citing Jardines, 133 S.Ct. at 1416). This means there is an “implicit license . . . to

approach the home by the front path, knock promptly, wait briefly to be received, and then

(absent invitation to linger longer) leave.” Id. An officer may also bypass the front door (or

another entry point usually used by visitors) when circumstances reasonably indicate that the

officer might find the homeowner elsewhere on the property. Id (citing Pena v. Porter, 316

Fed.Appx. 303, 313 (4th Cir. 2009). “Critically, however, the right to knock and talk does not

entail a right to conduct a general investigation of the home’s curtilage.” Id. (citing Rogers, 249

F.3d at 289).

       44.      The Individual Defendant Officers were captured on their own body cam footage,

conducting a general search of the curtilage of the Hairston home, as well as the home next door,

also owned by Jason Tartt. They did so despite being told by the homeowners that they were

afraid of the officers and were upset by their presence, as described above. The officers had no


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probable cause. Nor did they have a warrant or exigent circumstances to lawfully exceed the

bounds of a “knock and talk” activity.

       45.     Plaintiffs had a clearly established right to be free from the Defendant Individual

Officer’s search and seizure with the curtilage of their private residence, absent probable cause

plus either a warrant or exigent circumstances. Thus the search and seizure which the defendant

officers performed was illegal based upon clearly established law at the time of the search. See

Rogers, 249 F.3d at 290.

       46.     Even had the subject incident occurred in a public place, the Individual Defendant

Officers had no valid reasonable suspicion to support an investigatory detention of the plaintiffs.

Dalton can be heard on body cam footage attempting to articulate reasonable suspicion to the

plaintiffs, which was the basis for the warrantless arrest of Jason Tartt when he failed to provide

his birth date. The alleged reasonable suspicion articulated by Dalton was his knowledge that Mr.

Tartt owned property near where the officers found four alleged marijuana plants. Other than his

appearance, no other information was known by the Defendant Officers about Jason Tartt that

would give rise to any suspicion of Tartt engaging in criminal conduct.

       47.     Even assuming the defendant officers did have valid reasonable suspicion to

engage in an investigatory detention of Mr. Tartt, because the Individual Defendant Officers

undisputedly lacked probable cause, along with a warrant or exigent circumstances, the

Defendant Officers engaged in an illegal search and seizure through their actions of carrying out

that investigation on August 7, 2020.

       48.     At the time of the Plaintiff’s arrest, the facts and circumstances within the

defendants’ joint knowledge, as well as those available to the Individual Officers, were not


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sufficient to warrant a reasonably prudent police officer to believe that under the circumstances

present at the time, that Plaintiff had violated any criminal statute or committed any criminal

offense, nor that they were legally entitled to make such arrest, even with the presence of

probable cause.

       49.     Plaintiff suffered damages, for which he is entitled to recover.

             COUNT TWO - UNREASONABLE SEIZURE UNDER 42 U.S.C. 1983
                    VIOLATION OF THE FOURTH AMENDMENT
                             (Malicious Prosecution)

       50.     The previous paragraphs are hereby incorporated by reference as though fully

restated herein.

       51.     In the recent Supreme Court opinion in Thompson v. Clark, 596 U.S.

(2022), the Court clarified the application of malicious prosecution claims under Section 1983.

The Court held that a plaintiff in a Section 1983 malicious prosecution claim is not required to

show that his criminal prosecution ended with an affirmative indication of his innocence. Rather,

a plaintiff only needs to show “that his prosecution ended without a conviction.”

       52.     Plaintiff (Jason Tartt) was charged and prosecuted for the alleged crime of

obstruction under WV Code § 61-5-17(a). This charge was filed with the Magistrate Court of

McDowell County maliciously and for the improper purpose of retaliation in response to

protected free speech, as well as for the improper purposes of harassment.

       53.     Corroborating the fact that Defendant Dalton knew that the prosecution of Mr.

Tartt was frivolous and malicious, he failed to even appear to prosecute the case. Dalton’s goal

wasn’t conviction, which he knew would not occur in the absence of evidence of criminal

wrongdoing, but rather to force Mr. Tartt to undergo the humiliating process of being arrested,


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incarcerated and charged. Thus the actions of filing and maintaining a frivolous criminal

prosecution of Mr. Tartt, under the circumstances described herein, consists of a standalone

subsequent Fourth Amendment violation as an additional unreasonable search and seizure.

       54.       Plaintiff suffered damages, for which he is entitled to recover.

             COUNT THREE - UNREASONABLE SEIZURE UNDER 42 U.S.C. 1983
                      VIOLATION OF THE FOURTH AMENDMENT
                    (Unreasonable Search and Seizure of the Hairstons)

       55.       The previous paragraphs are hereby incorporated by reference as though fully

restated herein.

       56.       Defendant Dalton entered the private property, curtilage, as well as the front porch

of Mr. and Mrs. Hairston on August 7, 2020. He and Defendant Horn remained on the property

against their will, engaged in a general search of the curtilage of the property, detaining them for

an unreasonable amount of time, interrogating them against their will, making them feel scared

and unsafe.

       57.       Defendant Dalton and Horn confined the Hairstons, detaining them in the absence

of probable cause and either a warrant or exigent circumstances, doing so at a time when the

Defendant Officers were located inside the curtilage of the Hairstons’ home, also intruding onto

their front porch - even extending an arm inside the home’s front door.

       58.       Even if the Defendant Individual Officers possessed either reasonable suspicion

or probable cause, for reasons which are alleged in Count One, above, the defendant officers had

no right to engage in an investigatory detention, search, or seizure within the curtilage and front

porch of the Hairstons’ home, absent probable cause and either a warrant or exigent

circumstances.


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       59.     The Hairstons clearly did not consent, either explicitly or implicitly, to the officers

search and seizure herein. Instead, they expressed criticism and fear, clearly conveying that they

did not consent to the presence of the defendant officers at their home on August 7, 2020. Any

implied license authorizing the Defendant Officers to engage in a knock and talk activity was

explicitly and implicitly revoked early in the encounter.

       60.     Defendant Dalton subsequently forced the Hairstons off their own front porch,

and into their home, forcibly shoving Mr. Hairston into his doorway, closing his front door

behind him, preventing Mr. Hairston from filming the defendant officers’ misconduct.

       61.     At the time Defendant Dalton shoved Mr. Hairston into his doorway, Dalton was

standing on the home’s covered front porch, present against the will of the residents and owner

of the property.

       62.     At no time did the defendant officers have probable cause and a warrant to arrest

or search or seize any person or property at the subject property.

       63.     At no time did the defendant officers have valid consent to remain on the subject

property during the events described above.

       64.     At no time were the defendant officers presented with probable cause plus exigent

circumstances justifying the invasion of the sanctity of the plaintiffs’ home on August 7, 2020.

                 COUNT FOUR - RETALIATION UNDER 42 U.S.C. 1983
             VIOLATION OF THE FIRST AND FOURTEENTH AMENDMENTS
                       (Against all Defendants by all Plaintiffs)

       65.     The previous paragraphs are hereby incorporated by reference as though fully

restated herein.




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       66.     Plaintiffs actions on August 7, 2020 of expressing criticism and fear of the

defendant police officers, as well as in invoking their civil rights, as described above in more

detail, are safeguarded by the First Amendment to the United States Constitution.

       67.     Using their respective authorities under color of state law, the Individual

Defendants subjected plaintiffs to the deprivation of their rights under the First Amendment by

retaliating against them for exercising those rights.

       68.     Motivated to punish and intimidate the plaintiffs for their exercise of their free

speech, the Individual Defendants engaged in various harmful acts against the plaintiffs in

violation of clearly established First Amendment law, resulting in the Hairstons being forced into

their home against their will, as well as Mr. Tartt’s arrest. These acts include:

               a.      Remaining on private property against the will of the owner and residents,

                       doing so for an unlawful and unreasonable period of time;

               b.      Interrogating the owner and tenants of the subject property against their

                       will and without a warrant or any legal basis to do so, and doing so for

                       an unlawful and unreasonable period of time;

               c.      Harassing and intimidating the plaintiffs, berating them, arguing with them

                       and accusing them of being criminals, despite having absolutely no

                       evidence or indication they engaged in any criminal conduct;

               d.      Repeatedly asking Jason Tartt for his name, despite already knowing his

                       name, for the purposes of intimidating him and setting up a false arrest

                       for obstruction;

               e.      Repeatedly asking Jason Tartt for his date of birth, for the purposes of


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                       intimidating him, scaring him, invading his privacy, and setting up a false

                       arrest for obstruction;

               f.      Generally treating the plaintiffs as if they are second-class citizens,

                       purposefully causing them emotional harm and fear;

               g.      Engaging in the unlawful practice of racial profiling against the

                       plaintiffs.

       69.     The foregoing actions are independently unconstitutional but also were intended

to send a warning to plaintiffs, or anyone else in the community bold enough to assert their rights

or criticize the defendants, by exercising their First Amendment rights in the future.

       70.     It is clearly established that retaliating against individuals by arresting them under

a law that is generally not used to arrest similarly-situated individuals is a violation of the First

Amendment. Every reasonable government official would have had a fair warning that doing so

and participating in a scheme to do so is unconstitutional.

       71.     It is furthermore clearly established that retaliating against individuals by

engaging in the various harmful acts described above is a violation of the First Amendment.

Every reasonable government official would have had a fair warning that doing so and

participating in a scheme to do so is unconstitutional.

       72.     The facts also demonstrate that the criminal charge the Individual Defendants

assigned to Mr. Tartt was a sham charge, regardless of attempts to fabricate probable cause or

convince a magistrate to sign a criminal complaint. Thus, even if probable cause existed, the

application of an unenforced law to Mr. Tartt is insufficient to outweigh the retaliatory animus




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illustrated by the surrounding circumstances. The facts cannot objectively justify Mr. Tartt’s

arrest.

          73.    Even if state law compelled Mr. Tartt to disclose his date of birth under the

circumstances, which it doesn’t, other similarly situated individuals, such as Mr. Tartt, are not

arrested for failure to provide date of birth while standing on the front porch of a home on private

property.

          74.    Moreover, there was no time-sensitive reason that the defendant officers

immediately needed Mr. Tartt’s date of birth, under circumstances where the plaintiffs were

legally entitled to remove the officers from their property and to be left alone.

          75.    Furthermore, plaintiffs’ protected speech is not a legitimate consideration in

determining whether to make the decision to demand an homeowner’s date of birth as part of an

investigation.

          76.    The Individual Defendants’ unconstitutional acts, motivated by retaliatory animus,

directly harmed each of the plaintiffs by chilling their ability to exercise their First Amendment

rights and by causing them pecuniary loss and emotional harm and distress.

          77.    Had it not been for the retaliatory animus, the Individual Defendants would never

have arrested Mr. Tartt on August 7, 2020.

                           COUNT FIVE - CONSPIRACY TO DEPRIVE
                             CIVIL RIGHTS UNDER 42 U.S.C. 1985
                                     (Individual Of cers)

          78.    Plaintiff incorporates by reference all of the previous paragraphs.




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              79.   Defendants Martin and Horn, conspired for the purpose of depriving, either

     directly or indirectly, the plaintiffs of the equal protection of the laws of the United States and/or

     of the equal privileges and immunities under the laws of the United States.

              80.   Plaintiffs are each African Americans. They were targeted as suspects in the

     defendant of cers’ marijuana plant investigation just by virtue of their being African Americans.

     Due to the color of plaintiffs’ skin, the defendant of cers engaged in the outrageous behavior of

     violating their privacy, private property rights, engaging in harassment, as more speci cally

     described in the above paragraphs - despite the fact that he had no information indicating they

     had violated any law, and the fact that the of cers had no right to interrogate them and obtain

     their private information in the sanctity of their own home and private property, much less to

     shove the Hairstons inside their home, prevent them from lming, and forcibly arrest Mr. Tartt.

              81.   The defendant of cers would not have engaged in this behavior, or treated the

     plaintiffs in this manner, but for the fact that they are African Americans. Defendant Dalton

     openly admitted on August 7, 2020 that he required Jason Tartt’s full criminal history

     background check, before he could be eliminated as Dalton’s potential criminal suspect. Mr. Tartt

     was treated as guilty, until proven otherwise, just based on his appearance. When Mr. Tartt chose

     to express criticism and assert his civil rights, he was met with retaliation and humiliation.

              82.   In furtherance of the conspiracy, Plaintiff was arrested illegally by the two

     defendant police of cers and transported for incarceration.

              83.   Plaintiff suffered damages, for which he is entitled to recover pursuant to 42

     U.S.C. 1985(c).

                                        COUNT SIX - MONELL CLAIM
                                           UNDER 42 U.S.C. 1983

              84.   Plaintiff incorporates by reference all of the previous paragraphs.

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                  85.        The Defendant Individual Of cers deprived the plaintiffs of their constitutional

          rights as a result of the events of August 7, 2020, as described above in greater detail.

                  86.        The said constitutional deprivations directly resulted from either an of cial

          written policy of the McDowell County Commission (“MCC”) through the McDowell County

          Sheriff’s Of ce, or an unof cial custom. This includes, but is not limited to, the policy and

          practice of authorizing general searches of the curtilage of homes in the absence of probable

          cause and a warrant or exigent circumstances, as a matter of department procedure and policy, so

          as to result in the Individual Defendant Of cers acting in accordance with that procedure and

          policy on August 7, 2020.

                  87.        The MCC immediately acquired knowledge of the actions of the Defendant

          Individual Of cers, as described herein, as their actions were communicated to their supervisors

          via radio communications during the arrest and transport of Jason Tartt on August 7, 2020.

          Defendant Martin repeatedly described his actions over the radio during the transport.

                  88.        Upon information and belief, Defendant Martin was a supervisor over Defendant

          Horn, and was captured on body cam footage instructing Horn on engaging in said constitutional

          violations by showing him through eld training.

                  89.        Upon information and belief, there are multiple prior similar incidents of MCC

          deputies engaging in similar constitutional violations, as occurred to the Plaintiffs on August 7,

          2020.

                  90.        The MCC took no actions to stop the subsequent prosecution of Jason Tartt

          following his arrest. They furthermore took no actions to change their policy, or alter their

          supervision or training, so as to prevent future similar constitutional violations by their

          employees.


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               91.    The Defendant MCC acted under color of law.

               92.    That, as a direct result, the Plaintiffs suffered damages, including constitutional

     injury.

                               COUNT SEVEN - SUPERVISORY LIABILITY
                                       UNDER 42 U.S.C. 1983

               93.    Plaintiff incorporates by reference all of the previous paragraphs.



               94.    Defendant James “Boomer” Muncy was at all times a supervisor of the Defendant

     Individual Of cers, previously in the capacity of Chief Deputy, and subsequently in the capacity

     of Sheriff of McDowell County.

               95.    The Defendant Individual Of cers violated the Plaintiffs’ constitutional rights, as

     described in the above counts.

               96.    Upon information and belief, the said supervisor had notice of a pattern of

     unconstitutional acts by his subordinates, as described above.

               97.    Defendant Muncy’s training practice and/ or supervision was inadequate in

     regards to the said unconstitutional acts.

               98.    Defendant Muncy was deliberately indifferent in failing to train and/or supervise

     employees, such that the failure to train and or supervise re ects a deliberate or conscious choice

     by Defendant Muncy.

               99.    As a direct result, the Plaintiffs were injured.

               100.   Defendant Muncy was acting under color of law.

                                                    PRAYER

               WHEREFORE, based on the above stated facts, the plaintiffs respectfully requests that

     this Honorable Court award:

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         1.     Damages against the defendants in an amount to be determined at trial which will

fairly and reasonably compensate the plaintiffs for all compensatory damages to be proven at

trial;

         2.     Punitive damages against the individual defendants in an amount to be determined

at trial; and

         3.     Reasonable attorney fees and costs pursuant to 42 U.S.C. 1988.

PLAINTIFFS DEMAND A TRIAL BY JURY



                                             JASON TARTT,
                                             DONNIE HAIRSTON,
                                             VENTRISS HAIRSTON,
                                             By Counsel




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